24-11598-mew          Doc 14    Filed 09/17/24 Entered 09/17/24 13:52:27         Main Document
                                             Pg 1 of 2



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                              Case No. 24-11598 (MEW)

 GO NORTH GROUP AB,                                  Chapter 15

                   Debtor in a Foreign Proceeding.

                                  CERTIFICATE OF SERVICE

          I hereby certify:

          I am a paralegal with Amini LLC, am over eighteen years of age and reside in New York

City.

          On September 17, 2024, at around 11:45 a.m., I served a copy of the following documents

on White & Wolnerman LLP, 950 Third Avenue, New York, NY 10022, by hand delivering a

copy of the same to Sheena Simonini, the firm’s receptionist:

          •   Declaration of Jeffrey Chubak (ECF #4) and Exhibit 1-2 (ECF #4-1, #4-2) thereto;

          •   Declaration of Magnus Löfving (ECF #5) and Exhibits 1-3 (ECF #5-1, #5-2, #5-3)
              thereto;

          •   Declaration of Ryan Looysen (ECF #6) and Exhibits 1-4 (ECF #6-1, #6-2, #6-3, #6-4)
              thereto;

          •   Emergency Motion for Provisional Relief (ECF #10) and the accompanying proposed
              order (ECF #10-1);

          •   Order Granting Motion to Shorten Time (ECF #12); and

          •   Notice of Hearing (ECF #13).

          In addition, on September 17, 2024, I served a copy of the same documents by overnight

mail to Office of the United States Trustee, One Bowling Green, New York, NY 10004, Attn:

Andrea Schwartz.
24-11598-mew     Doc 14    Filed 09/17/24 Entered 09/17/24 13:52:27         Main Document
                                        Pg 2 of 2



       I certify under penalty of perjury that the foregoing is true and correct. Executed on

September 17, 2024.


                                                 Iris Wu
